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EXHIBIT A
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Alabama State Bar

415 DEXTER AVENUE
POST OFFICE BOX 671
MONTGOMERY, AL 36101

STATE OF ALABAMA

COUNTY OF MONTGOMERY

f, Terri B. Lovell, Secretary of the Alabama State Bar and custodian of its records,
hereby certify that Douglas Nathan Robertson has been duly admitted to the Bar of this State

and is entitled to practice in all of the courts of this State including the Supreme Court of
Alabama, which is the highest court of said state.

I further certify that Douglas Nathan Robertson was admitted to the Alabama State Bar
September 30, 2004.

I further certify that the said Douglas Nathan Robertson is presently a member in good

standing of the Alabama State Bar, having met all licensing requirements for the year ending
September 30, 2022.

IN WITNESS WHEREOF, I have hereunto set my hand and the seal of the Alabama State
Bar on this the 15th day of June, 2022.

Terri B. Lovell, Secretary

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P: 334-269-1515 F: 334-261-6310 ALABAR.ORG
